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                                      UNITED STATES

           DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN

     UNITED STATES OF AMERICA,

                         Plaintiff,

                                                Case No: 07-20099
     vs.
                                                HON: PAUL D. BORMAN

     YASSER SOUHOUBA,

                       Defendant.
     ___________________________________/

     MICHAEL A. RATAJ (P43004)
     Attorney for Defendant
     535 Griswold, Suite 1030
     Detroit, MI 48226
     (313) 962-3500
     _____________________________________________________________________

               ORDER SUBSTITUTING COUNSEL FOR DEFENDANT

                            At a session of Said Court held in
                    United States District Court for the Eastern District
                                of Michigan, on 11/14/07

                          PRESENT: HON PAUL D. BORMAN

           UPON Stipulation of counsel for Defendant YASSER SOUHOUBA,

           IT IS HEREBY ORDERED AND ADJUDGED that MICHAEL A. RATAJ

     be and is hereby substituted as counsel for Defendant YASSER SOUHOUBA.

                                                s/Paul D. Borman
                                                PAUL D. BORMAN
                                                UNITED STATES DISTRICT JUDGE

     Dated: November 14, 2007
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                               CERTIFICATE OF SERVICE

     Copies of this Order were served on the attorneys of record by electronic means or
     U.S. Mail on November 14, 2007.


                                               s/Denise Goodine
                                               Case Manager
